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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
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United States of America * o

v. ., Criminal Case No. JKB-18-0326

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JONATHAN EDGES DI OTS

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REGULAR SENTENCING ORDER

(4) On or before 5/6/2019 (not more than 40 days from the date of this order), the Probation
Officer shall provide the initial draft of the presentence report to counsel for the Defendant for
review with the Defendant. If the Defendant is in pretrial detention, defense counsel may not
provide a copy of the recommendations section of the presentence report to the Defendant in
advance of meeting to review the presentence report, and may not leave the recommendations
section of the presentence report with the Defendant once the review has taken place. The
Probation Officer shall also provide the initial draft of the presentence report to counsel for the
Government.

(2) On or before 5/20/2019 (not tess than 14 days from date in paragraph I), counsel shall
submit, in writing, to the Probation Officer and opposing counsel, any objections to any material
information, sentencing classifications, advisory sentencing guideline ranges, or policy
statements contained in or omitted from the report.

(3) After receiving counsel’s objections, the Probation Officer shall conduct any
necessary further investigation and may require counsel for both parties to meet with the
Probation Officer to discuss unresolved factual and legal issues. The Probation Officer shall
make any revisions to the presentence report deemed proper, and, in the event that any objections
made by counsel remain unresolved, the Probation Officer shall prepare an addendum setting

forth those objections and any comment thereon.

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(4) Onor before 5/31/2019 (not less than 11 days from date in paragraph 2), the Probation
Officer shall file the report (and any revisions and addendum thereto) through CM/ECF.

(5)  Ifcounsel for either party intends to call any witnesses at the sentencing hearing,
counsel shal! submit, in writing, to the Court and opposing counsel, on or before
5/24/2019 (not less than 14 days before sentencing), a statement containing (a) the names of the
witnesses, (b) a synopsis of their anticipated testimony, and (c) an estimate of the anticipated
length of the hearing.

(6) Sentencing memoranda are not required unless a party intends to request a
sentence outside the advisory guidelines range on the basis of a non-guideline factor. If
submitted, they shall be filed with the Clerk and a copy delivered to chambers on or before
5/24/2019 (not less than 14 days before sentencing). Opposing or responding memoranda are not
required. If submitted, they shall be delivered to chambers on or before
5/31/2019 (not less than 7 days before sentencing). Copies of all memoranda must be sent to the
Probation Officer.

(7) Sentencing shall be on 6/7/2019 at 11:30 a.m.

(8) The presentence report, any revisions, and any proposed findings made by the
Probation Officer in the addendum to the report sha!l constitute the tentative findings of the
Court under section 6A1.3 of the sentencing guidelines. In resolving disputed issues of fact, the
Court may consider any reliable information presented by the Probation Officer, the Defendant,
or the Government, and the Court may issue its own tentative or final findings at any time before

or during the sentencing hearing.

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(9) Nothing in this Order requires the disclosure of any portions of the presentence

report that are not disclosable under Federal Rules of Criminal Procedure 32.

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March 27, 2019 Oo) “4 2k

Date James K. Bredar
United States District Judge

 

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